Case 3:17-cv-02768-MAS-LHG Document 42 Filed 01/18/19 Page 1 of 12 PageID: 370




                               UNITED STATES DISTRICT COURT FOR THE
                                      DISTRICT OF NEW JERSEY

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 Attorneys for Plaintiff


  ANA        LIDIA    ALPIZAR-FALLAS,             Civil Action No.: 3:17-cv-02768-MAS-LHG
  individually and on behalf of all others
  similarly situated,

            Plaintiff,

  vs.

  THE ESTATE OF FRANK E. FAVERO,
  JOHN      DOE    1-5,    JOHN      DOE
  INCORPORATED          1-5    (fictitious
  designation), BRIAN BARBOSA and
  PROGRESSIVE       GARDEN       STATE
  INSURANCE COMPANY,

            Defendants.


                                    THIRD AMENDED COMPLAINT

         Plaintiff, Ana Lidia Alpizar-Fallas, by and through her counsel, Brach Eichler LLC, for her

 Complaint against Defendants both individually and on behalf of all others similarly situated, alleges as

 follows:




 BE:10091355.1/ALP055-271607
Case 3:17-cv-02768-MAS-LHG Document 42 Filed 01/18/19 Page 2 of 12 PageID: 371



                                                  PARTIES


          1.     At all times material hereto, Plaintiff, Ana Lidia Alpizar-Fallas, was a resident of the

 State of New Jersey, residing at 120 N. 4th Avenue, Apt. 11, Manville, County of Somerset, New Jersey

 08835.

          2.     At all times material hereto, Defendant, Frank E. Favero, was a resident of the State of

 New Jersey residing at 108 S. 19th Avenue, Manville, County of Somerset, New Jersey 08835.

          3.     At all times material hereto, Defendant, Progressive Insurance Company (“Progressive”),

 was licensed and authorized to issue insurance contracts and/or policies in the State of New Jersey.

          4.     At all times material hereto, Defendant, Bryan Barbosa (“Barbosa”), was an agent and/or

 employee of Defendant, Progressive and acted as a claims adjuster on behalf of Progressive under their

 direct supervision.

          5.     At all times material hereto, Defendants, John Doe 1-5; were and/or are fictitiously

 named individuals, the identity, addresses and culpable conduct of said Defendants being presently

 unknown. Said Defendants owned, operated, maintained and or controlled their vehicles in such a

 negligent manner as to injure the Plaintiffs. The Plaintiffs reserve the right to amend this Complaint

 upon obtaining knowledge of the identity, addresses and culpable conduct of the Defendants represented

 herein as John Doe 1-5.

          6.     At all times material hereto, Defendants, John Doe Incorporated 1-5; were and/or are

 fictitiously named partnerships, professional associations and/or professional corporations (hereinafter

 “partnerships”) which exist under the laws of the State of New Jersey, the identity, addresses and

 culpable conduct of said defendants being presently unknown. Said Defendants owned, operated,

 maintained and or controlled their vehicles in such a negligent manner as to injure the Plaintiffs. The




                                                 -2-
 BE:10091355.1/ALP055-271607
Case 3:17-cv-02768-MAS-LHG Document 42 Filed 01/18/19 Page 3 of 12 PageID: 372



 Plaintiffs reserve the right to amend this Complaint upon obtaining knowledge of the identity, addresses

 and culpable conduct of the defendants represented herein as John Doe Incorporated 1-5.


         7.      All Defendants acted by and through their respective agents, servants, employees,

 officers, directors or others, actual and/or apparent, any and all of which were then and there acting

 within the course and scope of their employment, duties or agency, actual and/or apparent.


                                 FACTS COMMON TO ALL COUNTS

         8.      Plaintiff herein incorporates paragraphs 1 through 17 as though the same were set forth

 herein at length.

         9.      On or about December 14, 2014, Plaintiff, Ana Lidia Alpizar-Fallas, was a passenger in a

 vehicle that was traveling northbound on Route 206 at or near its intersection with Camplain Road,

 Hillsborough Township, County of Somerset and State of New Jersey.

         10.     At the above time and place, Defendant, Frank E. Favero was the owner and operator of a

 vehicle that was traveling northbound on Route 206 at or near its intersection with Camplain Road,

 Hillsborough Township, County of Somerset and State of New Jersey.

         11.     At the above time and place, Plaintiff, Ana Lidia Alpizar-Fallas, was a named insured

 with an insurance policy with Defendant, Progressive that was valid and in full force and effect at the

 time of the accident.

         12.     At the above time and place, Defendant, Frank E. Favero, was a named insured with an

 insurance policy with Defendant, Progressive that was valid and in full force and effect at the time of the

 accident.




                                                -3-
 BE:10091355.1/ALP055-271607
Case 3:17-cv-02768-MAS-LHG Document 42 Filed 01/18/19 Page 4 of 12 PageID: 373



                                         COUNT I- NEGLIGENCE

         13.     Plaintiff herein incorporates paragraphs 1 through 12 as though the same were set forth

 herein at length.

         14.     At the above time and place, Defendant, Frank Favero, and/or John Does 1-5 (fictitiously

 named) and/or John Doe Incorporated 1-5 (fictitiously named), so carelessly, negligently and recklessly

 operated, maintained or repaired said vehicle so as to cause a collision with Plaintiff’s vehicle.

         15.     At the above time and place Defendants, John Does 1-5 (fictitiously named) and John

 Doe Incorporated 1-5 (fictitiously named), their agents or assigns so carelessly, negligently and

 recklessly operated, maintained or repaired said vehicle so as to cause the within collision.

         16.     As a result of the individual, joint and/or several tortuous conduct of the various

 Defendants as set forth above, Plaintiff, Ana Lidia Alpizar-Fallas , was caused to be violently twisted,

 jolted, strained and lurched about thereby sustaining serious injuries and damages.

         17.     As a further result of this incident and by reason of the injuries sustained, Plaintiff has in

 the past and will in the future be obliged to receive and undergo medical attention and care and to

 expend various sums of money and/or to incur various expenses for care and treatment of the injuries

 she has suffered, all to her great detriment and loss.

         18.     As a further result of this incident and by reason of the injuries sustained, Plaintiff has

 sustained an impairment of her earning capacity and power, all to her great detriment and loss.

         19.     As a further result of this incident and by reason of the injuries sustained, Plaintiff has in

 the past incurred and will in the future continue to incur other financial losses or expenses.

         20.     As a further result of this accident and by reasons of the injuries sustained, Plaintiff has in

 the past suffered and will in the future continue to suffer great pain, suffering, agony, mental anguish,

 embarrassment and humiliation, all to her great detriment and loss.



                                                  -4-
 BE:10091355.1/ALP055-271607
Case 3:17-cv-02768-MAS-LHG Document 42 Filed 01/18/19 Page 5 of 12 PageID: 374



         21.     As a further result of this incident and by reasons of the injuries sustained, plaintiff has in

 the past and will in the future be hindered from attending to her daily duties, functions and occupation,

 all to her great detriment and loss.


         WHEREFORE, Plaintiff, by and through her counsel demand compensatory damages, as well

 as interests, costs, disbursements, attorneys fees, and other relief as this Honorable Court may deem just

 and proper.


                               COUNT II---CLASS ACTION COMPLAINT

         22.     Plaintiff repeats and realleges the allegations set forth in Paragraphs 1 through 21 as if fully

 set forth herein.

         23.     Plaintiffs, as class representatives, bring this action pursuant to New Jersey Court Rules

 4:32-1(a) and 4:32-1(b)(2) and/or (b)(3), on behalf of a class consisting of all present and former policy

 holders of Defendant Progressive who were involved in motor vehicle accidents with other parties also

 insured by Defendant Progressive.


         24.     Plaintiff, Ana Lidia Alpizar-Fallas, individually and on behalf of all similarly situated,

 brings this Amended Class Action Complaint seeking compensatory damages, injunctive and declaratory

 relief, as well as attorneys’ fees and costs, against Defendants, Progressive and Barbosa and alleges as

 follows.

         25.     On or about December 14, 2014, immediately following the accident, Plaintiff was

 transported by ambulance from the scene of the accident to Robert Wood Johnson University Hospital,

 located in Somerset, New Jersey.

         26.     On or about December 14, 2014, Plaintiff was discharged to her home from Robert Wood

 Johnson University Hospital.


                                                  -5-
 BE:10091355.1/ALP055-271607
Case 3:17-cv-02768-MAS-LHG Document 42 Filed 01/18/19 Page 6 of 12 PageID: 375



          27.    On or about December 15, 2014, at approximately 7:00 – 8:00 a.m., Defendant Barbosa

 contacted the Plaintiff and/or her husband, Jose Ovares, by phone as an agent/employee of Defendant

 Progressive.

          28.    Defendant, Barbosa, represented to Plaintiff, Ana Lidia Alpizar-Fallas and her husband,

 Jose Ovares, that he was an agent of the Plaintiff’s insurance company Progressive, and that he was in

 the neighborhood and that Plaintiff’s insurance company wanted him to visit the Plaintiff, inspect the

 damage to her motor vehicle and sign paperwork to expedite the processing of the property damage

 claim.

          29.    On or about December 15, 2014, at approximately 9:00 a.m., Defendant, Barbosa,

 arrived at the Plaintiff’s property, and produced multiple documents for the Plaintiff and her husband,

 Jose Ovares, to complete.

          30.    Defendant, Barbosa, expressly represented to the Plaintiff, and her husband, Jose

 Ovares, that their signatures were necessary for their insurance company, Defendant, Progressive to

 expedite the processing of the property damage claim.

          31.    Defendant Barbosa, represented to the Plaintiff that the accident that resulted in severe

 injury to the Plaintiff had a questionable issue of liability.

          32.    Defendant Barbosa, required the Plaintiff to sign a document that he expressly

 represented would expedite the property damage claim of the accident.

          33.    When presented with the document, and in reliance upon the express representations of

 Defendant Barbosa that signing the document would facilitate Plaintiff’s receipt of payment for the

 property damage caused by the accident, the Plaintiff signed the document.

          34.    Plaintiff is not a sophisticated business person or skilled in understanding the significance

 of legal agreements. Instead, Plaintiff relied on the express false representations of the agent and/or



                                                   -6-
 BE:10091355.1/ALP055-271607
Case 3:17-cv-02768-MAS-LHG Document 42 Filed 01/18/19 Page 7 of 12 PageID: 376



 employee of her insurance company’s claims adjuster---Defendant Barbosa---that the documents he

 prepared and delivered to her needed to be signed merely to facilitate her receipt of the money for the

 damages to her motor vehicle.

         35.     Unbeknownst to the Plaintiff, the Defendant Barbosa falsely represented the nature of the

 documents that Plaintiff signed. The document, prepared by the Insurance Defendants was in fact a

 broadly written comprehensive general release of any and all claims.

         36.     The release contained language that released, acquitted and forever discharged all claims

 against Defendant, Frank Favero for any and all known and unknown personal injuries resulting from

 the motor vehicle accident.

         37.     Defendant Barbosa, through his acts and/or omissions did not explain the legal

 significance of the document he demanded the Plaintiff to sign.

         38.     Defendant Barbosa, did not speak the Plaintiff’s native language, Spanish.

         39.     Defendant Barbosa, required the Plaintiff to sign the release in his presence at her home.

         40.     Defendant Barbosa, did not advise Plaintiff that she could or should seek an attorney

 prior to signing the release.

         41.     Plaintiff did not understand that by signing the document presented to her by Defendant

 Barbosa, that she was waiving her right to sue the Defendant, Frank E. Favero----also a person insured

 by Progressive---- for injuries sustained in the accident.

         42.     Plaintiff reasonably relied on the materially false representations of the Insurance

 Company Defendants Defendant, Bryan Barbosa, when she signed the documents since Defendant

 Barbosa, represented to the Plaintiff that he was an agent of the Plaintiff’s own insurance company,

 Progressive.




                                                 -7-
 BE:10091355.1/ALP055-271607
Case 3:17-cv-02768-MAS-LHG Document 42 Filed 01/18/19 Page 8 of 12 PageID: 377



         43.     Prior to the signing the documents presented to her on December 15, 2015, and at various

 and numerous dates subsequent thereto, Defendants Barbosa and Progressive and others at the insurance

 company have engaged in this same pattern of unlawful conduct with respect to other similarly situated

 individuals.

         44.     As a result of this deceptive and unconscionable practice, present and former insurance

 policy holders of Defendant, Progressive have and continue to be stripped of their rights to pursue

 claims against other policy holders of Progressive Insurance Company due to the Defendants’ false and

 misleading representations, in violation of state law and regulations of the State of New Jersey

 applicable to insurance companies engaged in claims resolution.

         45.     The unconscionable business practices of Progressive amount to a violation of the New

 Jersey Consumer Fraud Act, N.J.S.A. 56:8-1 et seq. entitling the Plaintiff on her own behalf and as a

 Class Representative to declaratory relief, injunctive relief, compensatory damages, and trebled damages

 pursuant to the Act.

         46.     The unconscionable business practices of Progressive amount to a violation of the Unfair

 Claims Settlement Practices regulations contained at N.J.A.C. 11:2-17 et seq. entitling the Plaintiff on

 her own behalf and as a Class Representative to relief.

         47.     While the precise number of class members is presently unknown to the Plaintiff, class

 members include all individuals that purchased and maintained insurance policies with Defendant

 Progressive, who were injured as a result of a motor vehicle accident with other drivers who were

 insured by Defendant Progressive at the time of a motor vehicle accident within the past six (6) years

 preceding the filing of this class action complaint.

         48.     Upon information and belief, the number of individuals that were insured by Defendant

 Progressive who were involved in motor vehicle accidents with other drivers who had insurance policies



                                                 -8-
 BE:10091355.1/ALP055-271607
Case 3:17-cv-02768-MAS-LHG Document 42 Filed 01/18/19 Page 9 of 12 PageID: 378



 with Defendant Progressive would exceed 150 individuals. The number of class members is so

 numerous that joinder of all class members is impracticable.

         49.      The members of the class are readily identifiable from records maintained by, and in the

 possession of, Defendant Progressive, and will be notified of this class action using the methods of

 notice that are customarily used in class actions.

         50.      Plaintiff’s claims are typical of the members of the class, as all class members are

 similarly affected by the unlawful conduct of Defendants as alleged in this class action complaint.

         51.      As a result of Defendants’ systematic practice of misleading its injured insureds to sign

 comprehensive general releases within days of an accident in order to prevent its injured insureds from

 pursuing a claim against drivers who were also insured by Defendant Progressive, the class action

 mechanism is superior to all other available means and methods for the fair and efficient adjudication of

 this controversy since:


                  (a)      The expense and burden of individual litigations filed by each present and former

 insurance policy holder of Defendant makes it difficult, if not impossible, for individual class members

 to obtain relief caused by Defendants’ unlawful conduct:

                  (b)      The joinder, in a single action, all individual members of the class is

 impracticable;

                  (c)      The damages suffered by each individual class member will be difficult to

 measure in monetary terms and may likely be in amounts that make it impracticable for each individual

 class member to pursue; and

                  (d)      The requested injunctive relief will impact a significant number of class members

 as well as benefit the future insurance policy holders of the Defendant.




                                                    -9-
 BE:10091355.1/ALP055-271607
Case 3:17-cv-02768-MAS-LHG Document 42 Filed 01/18/19 Page 10 of 12 PageID: 379



           52.   Because Defendant Progressive, Barbosa, and other agents and or employees of

 Progressive are engaging in conduct that is similar to most, if not all, class members, final injunctive

 and/or declaratory relief is appropriate with respect to the class as a whole.

           53.   Common questions of law and fact exist as to all class members, and predominate over

 any questions that solely affect individual class members. These common questions of law and fact

 include:


                 (a)     Whether Progressive and its agents, servants, and employees intentionally,

 purposefully and/or knowingly misled and/or misrepresented to policy holders of Progressive who were

 injured in automobile accidents with other insured drivers of Progressive in order to obtain their

 signatures on comprehensive general releases in order to prevent policy holders of Progressive to pursue

 a claim for injuries following an accident to which they were entitled?

                 (b)     Whether Defendants are engaging in a systematic and widespread practice of

 incentivizing and/or encouraging and/or requiring agents and/or adjusters and/or employees of

 Defendant, Progressive to wrongly induce through misrepresentations targeted to get injured insured

 policy holders of Progressive to sign full releases in claims involving other insured drivers of Defendant,

 Progressive for nominal sums within days of an accident?

                 (c)     Whether Defendants’ practices of having its injured, insured policy holders sign

 comprehensive general releases for nominal sums within days of an accident for claims involving other

 drivers of Defendant Progressive based on the misrepresentation that it was for property damage only

 violates the New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1 et seq.?

                 (d)     Whether comprehensive general releases obtained by Progressive and its agents

 and servants under similar circumstances should be declared null and void and of no further force and

 effect?


                                                 - 10 -
 BE:10091355.1/ALP055-271607
Case 3:17-cv-02768-MAS-LHG Document 42 Filed 01/18/19 Page 11 of 12 PageID: 380



                 (e)     Whether any class member who provided Progressive with a comprehensive

 general release, and is now barred from bringing suit pursuant to the statue of limitations, should be

 permitted to commence suit directly against Progressive for any damages sustained?


           54.   Plaintiff will fairly and adequately protect the interests of the class members. Plaintiff

 has no interest antagonistic to the interests of the other class members and have retained counsel

 experienced in handling class action litigation.

           WHEREFORE, Plaintiff demands that this Court enter judgment against Defendants, jointly

 and severally, and grant the following relief:


                 (a)     certifying this action as a class action;

                 (b)     designating and certifying Plaintiff as class representative pursuant to R. 4:32-1;

                 (c)     declaring Plaintiffs’ counsel as class counsel pursuant to R. 4:32-1;

                 (d)     awarding permanent injunctive relief to Plaintiff and the class members,

 restraining and enjoining insurance company Defendants from misleading class members now and in

 the future in connection with obtaining comprehensive general release agreements;

                 (e)     Awarding permanent injunctive relief requiring the Defendant Progressive to

 notify any person who signed a comprehensive general release that such release is of no legal force and

 effect;

                 (f)     Awarding permanent injunctive relief requiring the Defendant Progressive to

 engage in targeted training of its claims personal to insure that proper written guidance is given to

 Progressive insureds before signing any documents that contain a release of claims;

                 (g)     Awarding permanent injunctive relief requiring the Defendant Progressive to

 communicate with its policy holders in their native and plain understandable language when any request

 for a comprehensive general release is communicated ;

                                                  - 11 -
 BE:10091355.1/ALP055-271607
Case 3:17-cv-02768-MAS-LHG Document 42 Filed 01/18/19 Page 12 of 12 PageID: 381



                 (h)     awarding declarative and injunctive relief to Plaintiff and the class members,

 declaring that the practices of the insurance company Defendants amount to an unconscionable business

 practice in violation of the New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1 et seq. and awarding

 compensatory and injunctive relief as a result;

                 (i)     awarding Plaintiff and the class members attorneys’ fees and reasonable litigation

 costs and expenses, and

                 (j)     such other relief as this Court may deem just and proper.



                                                BRACH EICHLER LLC


                                        BY:     s/CHARLES X. GORMALLY, ESQ.
                                                  CHARLES X. GORMALLY, ESQ.


 Dated: January 18, 2019




                                        DEMAND FOR TRIAL BY JURY

         Plaintiffs hereby demand a trial by jury as to all issues.



                                                BRACH EICHLER, LLC


                                        BY:     s/CHARLES X. GORMALLY, ESQ.
                                                  CHARLES X. GORMALLY, ESQ.




                                                 - 12 -
 BE:10091355.1/ALP055-271607
